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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION




MV3 PARTNERS LLC,

                Plaintiff,                           Civil Action No.: 6:18-cv-00308-ADA
v.
                                                     JURY TRIAL DEMANDED
ROKU, INC.,

               Defendant.




                                            ORDER

       On this day came on to be considered MV3’s Motion For New Trial in the above-titled

and numbered civil action, and the Court having now reviewed said motion finds that it is not

well taken and should be denied. It is, therefore,

       ORDERED that Defendant MV3’s Motion For New Trial be denied.

                     18th day of ____________,
       SIGNED this _______        December     2020.



                                                              ______________________________
                                                              ALAN D ALBRIGHT
                                                              UNITED STATES DISTRICT JUDGE
